AO 91 (Rev. 5/85) Criminal Complaint ® om 4 AMIR U6, DIST, COURT
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ZoHN F.CO CLERK
WESTERN DISTRICT OF VIRGINIA oe
UNITED STATES OF AMERICA
Vv.
Gustavo CARDENAS CRIMINAL COMPLAINT

a Road
Mebane, North Carolina

CASE NUMBER: FO9MIZI4+

(Name and Address of Defendant)

[, the undersigned complainant being duly sworn state the following is true and correct to the best of my

Coeds
knowledge and belief. On orf June 7, 2009 in Danville in the

Western District of Virginia defendant(s) did, (Tack Statutory Language of Offense)

knowingly and intentionally possess with the intent to distribute a Schedule II Controlled
Substance, to wit: Cocaine

knowingly and intentionally conspire to possess with the intent to distribute a Schedule II
Controlled Substance, to wit: Cocaine

in violation of Title 21 United States Code, 841 & 846

| further state that | am a(n) Special Agent __ and that this complaint is based on the following
Official Title

facts:

SEE ATTACHED AFFIDAVIT

Continued on the attached sheet and made a part xl Yes [J No

‘ Signature of Complainant Cc)
Sworn to before me, and subscribed in my presence,
June 8, 2009 __ _. atRoanoke, Virginia _
Date City and State
Michael F. Urbanski, U.S. Magistrate Judge i

Name and Title of Judicial Officer Signature of Judicial
AFFIDAVIT

I, David L. High, being duly sworn state the following:

I, David L. High, am a Special Agent of the Drug Enforcement Administration. I have
been employed as a Special Agent of DEA for over twenty three years. Prior to that, I
was a Special Enforcement Narcotics Officer in the State of Ohio for five years. During
my career with DEA and other law enforcement agencies, I have specifically investigated
drug trafficking crimes. I am familiar with methods utilized by drug traffickers to import,
transport, and distribute controlled substances. I am familiar with violations of the

Controlled Substances Act as they pertain to Title 21 of the United States Code.

The DEA Roanoke Resident Office in cooperation with the Pittsylvania County
Sheriff's Office and the Virginia State Police have been investigating cocaine trafficking
activities in south central Virginia. Gustavo CARDENAS has been identified as a multi-
kilogram cocaine trafficker. Investigator Billy Chaney, acting in an undercover capacity,
established negotiations with CARDENAS and arranged for the delivery of two
kilograms of cocaine. I have not included all of the facts of this investigation in this

affidavit, but only enough to establish probable cause.

Over the past several weeks Investigator Chaney, acting in an undercover capacity,
has been negotiating with CARDENAS to purchase kilogram quantities of cocaine. On
May 29, 2009, Investigator Chaney met CARDENAS on the parking lot of the Kangaroo
gas station located on Route 29 in Pittsylvania County, Virginia. During that meeting,
CARDENAS told Investigator Chaney he would sell Investigator Chaney three kilograms
of cocaine. A few days later, CARDENAS provided Investigator Chaney with telephone
number Through a series of recorded telephone conversations,
CARDENAS agreed to sell two kilograms of cocaine to Investigator Chaney for $66,000.
Investigator Chaney and CARDENAS agreed to meet at Carter’s Convenient Store
located at 3103 West Main Street in Danville, Virginia, on June 7, 2009.

in
i
On June 7, 2009, at approximately 10:40 AM, CARDENAS contacted Investigator
Chaney and said he (CARDENAS) was on his way to Virginia. At approximately 10:57
AM, Investigator Chaney arrived in an undercover vehicle at Carter’s Convenient Store.
Surveillance and arrest teams were positioned in the area of the convenient store. At
approximately 11:05 AM, surveillance observed a red Nissan Quest traveling north on
Route 29. At approximately 11:07 AM, surveillance observed the Nissan Quest,
operated by CARDENAS, arrive on the parking lot of Carter’s Convenient Store and park
next to the undercover vehicle. Investigator Chaney exited the undercover vehicle and
entered the Nissan Quest on the passenger side. CARDENAS showed Investigator
Chaney two kilograms of cocaine. The two kilograms of cocaine were contained inside
of a cardboard Craftsman drill box. Investigator Chaney told CARDENAS he had the
money for the cocaine and simultaneously gave the verbal arrest signal. Arrest teams

responded and took CARDENAS into custody with out incident.

At approximately 11:19 AM, CARDENAS was advised of his Constitutional Rights,
per Miranda by SA David High, as witnessed by SA Allen Ruis (VSP-BCI).
CARDENAS elected to waive his Constitutional Rights and provided investigators with

the following statements against his own penal interest:

CARDENAS stated he received the two kilograms ‘rong

on the “front” on the evening of June 6, 2009. CARDEANAS said he drove to
CREAR sigence to pick up the cocaine. CARDENAS said GRRE etrieved
the cocaine from the bathroom of the residence. According to CARDENAS, nae
placed the two kilograms inside the cardboard Sears drill box. CARDENAS said he left
the cocaine inside of his vehicle overnight before driving to Virginia meet Investigator
Chaney. CARDENAS said he has been dealing with aay for approximately two
months. CARDENAS said qu... expecting CARDENAS to return from
Virginia with the money for the two kilograms of cocaine. CARDENAS said he could
atrange for SD... meet him to pick up the money. CARDENAS provided the

telephone number QE fo. ST
SA High contacted SA Steve Razik of the DEA Greensboro Resident Office to

coordinate further enforcement operations in North Carolina. CARDENAS described

trailer park and GED..2\1- to SA Razik and further stated GED) pcr 2ted a

black Chevrolet Tahoe and a black Ford Mustang.

CARDENAS placed a recorded telephone call a to and

informed REP that he had to travel further into Virginia than anticipated and would
be back to North Carolina later in the afternoon. CARDENAS accompanied
investigators to Burlington, North Carolina, to meet SA Razik. CARDENAS identified
QE csidence from an aireal photograph. Surveillance also identified a black
Ford Mustang and a black Chevrolet Tahoe parked at the residence. The address of the

residence was further identified pay ¥. 52 North

Carolina.

At approximately 4:03 PM, CARDENAS placed a second recorded telephone call
Guy to CP anc requested Eo meet CARDENAS on the
parking lot of Advance Auto located at 2021 Webb Avenue in Burlington, North
Carolina. The red Nissan Quest that CARDNEAS had driven to Virginia was parked
unattended on the parking lot of Advance Auto. CARDENAS was in police custody in a
surveillance vehicle and in position to observe the parking lot of Advance Auto.
Surveillance officers observed a black Chevrolet Tahoe leave the area of GD
Road within a few minutes of the call placed to CARILLO. At approximately 4:19 PM, a
black Chevrolet Tahoe (NC tags aD was observed by surveillance as it pulled
onto the parking lot of Advance Auto. CARDENAS identified > as he exited
the Chevrolet Tahoe and arresting officers took GER. custody without incident.

ai: transported to a nearby location and advised of his Constitutional
Right, per Miranda. CIR (clined to make any statements and requested an

attomey.

A consent search was granted by qa. who resides a
SE. \ i: North Carolina. SE 3: zm. ive

together at this residence. As a result of the search, one bottle of Inositol (common

cocaine cutting agent) was seized from the bathroom of the residence. A Ruger 9mm
semiautomatic pistol (serial was seized from the back bedroom of the

residence.

CARDENAS and TR vce transported to the Roanoke City jail and housed

pending their initial appearance in federal court.

The above mentioned information contained in this affidavit is in violation of Title 21

of the United States Code, Sections 841 and 846.
Dawl |

David L. High
Special Agent, DE

Swor and subscribed to before
me this 8" day of June, 2009.

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Michael F, Urbanski
United States Magistrate Judge

